                UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION


                            )
SANDRA M. PETERS, on behalf of
                            )
herself and all others similarly
                            )
situated,                   )                        Case No. 1:15-cv-00109-MR
                            )
              Plaintiff,    )
  v.                        )
                            )                         NOTICE OF FILING
AETNA INC., AETNA LIFE      )                    SETTLEMENT MEMORANDUM
INSURANCE COMPANY, and      )                     FOR PLAINTIFF AND AETNA
OPTUMHEALTH CARE SOLUTIONS, )                           DEFENDANTS
INC.,                       )
                            )
              Defendants.   )



      Pursuant to the Court’s November 7 Order (Doc. 311), Plaintiff Sandra Peters

on behalf of the Classes (“Plaintiff”) and Defendants Aetna Inc. and Aetna Life

Insurance Company (“Aetna,” and together with Plaintiff, the “Settling Parties”)

respectfully submit under seal as Exhibit 1 an agreement with the material terms of

a class settlement (i.e., a “term sheet”). The other defendant, OptumHealth Care

Solutions (“Optum”), has not agreed to participate in the settlement.

      As explained in the November 6 joint filing (Doc. 310), all parties have been

negotiating a settlement for almost a year. The day after the Court’s November 7

Order, a draft term sheet was circulated among all parties. Unfortunately, for the first

time, on the evening of December 2, it became clear that Optum’s understanding of




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one of the negotiated terms was inconsistent with the understanding of the Settling

Parties. Despite vigorous efforts, the parties were unable to resolve this disagreement

prior to the deadline for this submission.

      In light of these developments, the Settling Parties executed the attached

settlement term sheet to resolve Plaintiff’s claims against Aetna and are prepared to

work together toward finalizing and administering that settlement. To facilitate these

activities, and not waste party or judicial resources, the Settling Parties respectfully

request that all deadlines in the current schedule (Doc. 308), the November 5 docket

entry setting the Final Pretrial Conference, and the Supplemental Pretrial Order and

Case Management Plan (Doc. 309) be suspended. The Settling Parties intend to

memorialize their settlement in a formal written agreement, and Plaintiff will prepare

her motion and legal memorandum seeking preliminary approval of the settlement,

as well as a proposed plan of allocation and proposed settlement notice to class

members. In light of upcoming commitments of Plaintiff’s counsel (including a trial

in mid-December), as well as the Settling Parties’ holiday-related obligations, the

Settling Parties request that Plaintiff be given until January 31, 2025 to file such a

motion.

      With respect to the claims against Optum, all parties believed until this week

that settlement was imminent. As a result, they focused their energies on moving

that settlement forward and did not perform various activities that must be completed


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prior to a trial—particularly a trial involving only Plaintiff’s claims against Optum.

In addition, because Optum is not participating in the settlement, it now will be

necessary to send notice to the class members explaining the claims against Optum

and their related opt-out rights.

      The Settling Parties therefore request that pretrial and trial proceedings as

between Plaintiff and Optum be deferred until the Court has given final approval to

the settlement between the Settling Parties. Aetna in particular is acutely concerned

that to proceed with a trial between Plaintiff and Optum, while at the same time

working to finalize and administer a settlement as between Plaintiff and Aetna,

would be highly prejudicial to Aetna. A principal motivation for settlement was to

avoid the time, expense, and uncertainty of a trial; and until the settlement between

the Settling Parties has been finally approved, Aetna would face significant potential

prejudice from a separate trial against Optum, in which Aetna could be impacted but

in which it did not participate. As a practical matter, until its settlement with Plaintiff

is complete Aetna will have no choice but to participate in any trial of the merits of

this action —a consideration that necessarily would compromise and undermine the

settlement. For that reason, the Settling Parties jointly request that they be allowed

to complete their settlement—which, as reflected in the term sheet, will bring

substantial value to the settlement classes—before any proceedings concerning the

claims against Optum recommence.


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                             Respectfully submitted,

Dated: December 6, 2024

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on behalf of herself and all others
similarly situated




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                 EXHIBIT 1

 [FILED UNDER SEAL]




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                        CERTIFICATE OF SERVICE

      I certify that on December 6, 2024, I caused to be filed and served a copy of

the foregoing Notice using the CM/ECF system, which will give notice to counsel

of record.



                                      /s/Andrew N. Goldfarb
                                      Andrew N. Goldfarb




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